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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
                                                                    :
In re:                                                              : Chapter 11
                                                                    :
96 WYTHE ACQUISITION LLC,                                           : Case No. 21-22108 (RDD)
                                                                    :
                                    Debtor.                         :
                                                                    :
------------------------------------------------------------------ X


               LENDER’S LIMITED OBJECTION CONCERNING DEBTOR’S
                   APPLICATION TO RETAIN MAYER BROWN LLP

         Benefit Street Partners Realty Operating Partnership, L.P.1 (“Benefit Street”) submits this

limited objection to the Application of 96 Wythe Acquisition LLC (the “Debtor”) to Retain Mayer

Brown LLP as co-counsel [ECF No. 89] (the “Motion”).

                  1.       The Debtor’s Motion seeks to retain Mayer Brown LLP to act as its co-

counsel in this Chapter 11 case. While Benefit Street does not oppose that relief in general, it files

this limited objection to express its concerns about the proposed retention.




1
 Benefit Street is a wholly owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries,
operates as Franklin Templeton.
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               2.      At a cash collateral hearing on June 2, 2021, the Debtor told the Court that

it was interviewing financial professionals concerning potential exit transactions. See June 2, 2021

Hr’g Tr. at 34:11-14. A week before that, a new proposed litigation counsel appeared, claiming it

had been retained to investigate Benefit Street and scurrilous allegations of fraud on the state

appellate court. Shortly thereafter, the proposed counsel withdrew from the assignment.

               3.      Almost three months later – and two months into the four month extension

of its exclusive periods – the Debtor still has not moved to retain any financial professional.

Instead, it has asked to retain a third active set of counsel (and fourth overall to appear) in this

relatively modest case. While more cleverly camouflaged than the earlier proposed special

litigation counsel, the retention application once again reflects that the proposed new counsel

intends to investigate Benefit Street. Among other things, the tasks it is being retained to perform

include:

      “preparing certain pleadings in connection with this Chapter 11 Case to address the issues
       raised in the Debtor’s pre-petition state court litigation with the Lender;”

      “advising the Debtor with respect to certain issues relating to the Lender, which, if not
       consensually resolved, will require litigation and related discovery;” and

      “advising and consulting on the conduct of this Chapter 11 Case as it relates to the issues
       raised by the Lender and the prompt exit from Chapter 11.”

Motion ¶ 15. To the extent the application describes other proposed services, they appear to

duplicate the duties of existing bankruptcy counsel.

               4.      First, if Mayer Brown intends to investigate whether Benefit Street had

committed fraud on the court in connection with the Appellate Division’s February decision

granting it a summary judgment of foreclosure and dismissing all of the Debtor’s defenses to

Benefit Street’s loan, there is no basis for the retention. The Debtor has never offered a factual

basis to support these allegations, which are facially baseless. Appellate courts make decisions
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based upon a record established in the lower court. Because the facts in the appellate record had

been established in the lower court and were equally available to the Court and the parties, Benefit

Street cannot have misled the appellate court or anyone else about them. If the Debtor thought

some aspect of the record required supplementation or modification, there were standard

procedures for doing so. In addition, the suggestion that Benefit Street, a publicly filing REIT and

subsidiary of Franklin Templeton, would need to defraud a court to foreclose after a run of the mill

maturity default defies credulity.

                5.      Second, any such investigation would directly contradict the Debtor’s

representation to the Court at the first day hearing that the Debtor planned to “honor” the Appellate

Division’s decision and would not seek to “challenge” it in the bankruptcy. See Mar. 2, 2021 Hr’g

Tr. at 20-21.

                6.      Third, it is now six months into the case, and the Debtor has inexplicably

failed to retain a financial professional to organize an exit transaction. At this stage, retaining new

litigation counsel to fight with the lender suggests that this case may be headed in the wrong

direction. The Debtor should not be allowed to obscure its failure to make any material progress

towards reorganization by seeking to revisit issues already fully litigated and resolved in the state

courts.   Such a path would be wasteful of estate assets and produce nothing of value for

stakeholders. Nor should the Court miss the irony that this Debtor – who claims that complying

with even minimal discovery obligations somehow cripples its attempts to reorganize – is now

seeking to begin a quixotic litigation to escape a binding appellate decision. At a minimum, the

Debtor should not be heard to claim that the process of retaining yet another set of counsel excuses

its failure to make material progress towards an exit.
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                7.      Fourth, the current cash collateral budget does not contain any line item for

counsel fees, and Benefit Street objects to the use of its cash collateral to investigate claims or

pursue litigation against it.

                8.      Finally, the Motion indicates that the Debtor’s corporate parent is paying a

significant portion of Mayer Brown’s fees and backstopping the remainder. The Debtor should

clarify that the parent’s payments to Mayer Brown are equity contributions and will not provide

the parent with any claim (administrative or otherwise) against the estate. In addition, the parent,

and the insiders who control it, the Debtor and the hotel manager (Toby Moskovits and Michael

Lichtenstein) may be subject to claims by the estate. Mayer Brown obviously should not

participate in the investigation or litigation of any such claims.

Dated: August 26, 2021
       New York, New York

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